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              EXHIBIT 35
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                                              Vol. 84, No. 96

                                              Friday, May 17, 2019



                                              Title 3—                                           Executive Order 13873 of May 15, 2019

                                              The President                                      Securing the Information and Communications Technology
                                                                                                 and Services Supply Chain


                                                                                                 By the authority vested in me as President by the Constitution and the
                                                                                                 laws of the United States of America, including the International Emergency
                                                                                                 Economic Powers Act (50 U.S.C. 1701 et seq.) (IEEPA), the National Emer-
                                                                                                 gencies Act (50 U.S.C. 1601 et seq.), and section 301 of title 3, United
                                                                                                 States Code,
                                                                                                 I, DONALD J. TRUMP, President of the United States of America, find
                                                                                                 that foreign adversaries are increasingly creating and exploiting
                                                                                                 vulnerabilities in information and communications technology and services,
                                                                                                 which store and communicate vast amounts of sensitive information, facilitate
                                                                                                 the digital economy, and support critical infrastructure and vital emergency
                                                                                                 services, in order to commit malicious cyber-enabled actions, including eco-
                                                                                                 nomic and industrial espionage against the United States and its people.
                                                                                                 I further find that the unrestricted acquisition or use in the United States
                                                                                                 of information and communications technology or services designed, devel-
                                                                                                 oped, manufactured, or supplied by persons owned by, controlled by, or
                                                                                                 subject to the jurisdiction or direction of foreign adversaries augments the
                                                                                                 ability of foreign adversaries to create and exploit vulnerabilities in informa-
                                                                                                 tion and communications technology or services, with potentially cata-
                                                                                                 strophic effects, and thereby constitutes an unusual and extraordinary threat
                                                                                                 to the national security, foreign policy, and economy of the United States.
                                                                                                 This threat exists both in the case of individual acquisitions or uses of
                                                                                                 such technology or services, and when acquisitions or uses of such tech-
                                                                                                 nologies are considered as a class. Although maintaining an open investment
                                                                                                 climate in information and communications technology, and in the United
                                                                                                 States economy more generally, is important for the overall growth and
                                                                                                 prosperity of the United States, such openness must be balanced by the
                                                                                                 need to protect our country against critical national security threats. To
                                                                                                 deal with this threat, additional steps are required to protect the security,
                                                                                                 integrity, and reliability of information and communications technology and
                                                                                                 services provided and used in the United States. In light of these findings,
                                                                                                 I hereby declare a national emergency with respect to this threat.
                                                                                                 Accordingly, it is hereby ordered as follows:
                                                                                                 Section 1. Implementation. (a) The following actions are prohibited: any
                                                                                                 acquisition, importation, transfer, installation, dealing in, or use of any infor-
                                                                                                 mation and communications technology or service (transaction) by any per-
                                                                                                 son, or with respect to any property, subject to the jurisdiction of the
                                                                                                 United States, where the transaction involves any property in which any
                                                                                                 foreign country or a national thereof has any interest (including through
                                                                                                 an interest in a contract for the provision of the technology or service),
                                                                                                 where the transaction was initiated, is pending, or will be completed after
                                                                                                 the date of this order, and where the Secretary of Commerce (Secretary),
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                                                                                                 in consultation with the Secretary of the Treasury, the Secretary of State,
                                                                                                 the Secretary of Defense, the Attorney General, the Secretary of Homeland
                                                                                                 Security, the United States Trade Representative, the Director of National
                                                                                                 Intelligence, the Administrator of General Services, the Chairman of the
                                                                                                 Federal Communications Commission, and, as appropriate, the heads of
                                                                                                 other executive departments and agencies (agencies), has determined that:


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                                                                                                    (i) the transaction involves information and communications technology
                                                                                                    or services designed, developed, manufactured, or supplied, by persons
                                                                                                    owned by, controlled by, or subject to the jurisdiction or direction of
                                                                                                    a foreign adversary; and
                                                                                                    (ii) the transaction:
                                                                                                      (A) poses an undue risk of sabotage to or subversion of the design,
                                                                                                    integrity, manufacturing, production, distribution, installation, operation,
                                                                                                    or maintenance of information and communications technology or services
                                                                                                    in the United States;
                                                                                                      (B) poses an undue risk of catastrophic effects on the security or resil-
                                                                                                    iency of United States critical infrastructure or the digital economy of
                                                                                                    the United States; or
                                                                                                      (C) otherwise poses an unacceptable risk to the national security of
                                                                                                   the United States or the security and safety of United States persons.
                                                                                                   (b) The Secretary, in consultation with the heads of other agencies as
                                                                                                 appropriate, may at the Secretary’s discretion design or negotiate measures
                                                                                                 to mitigate concerns identified under section 1(a) of this order. Such measures
                                                                                                 may serve as a precondition to the approval of a transaction or of a class
                                                                                                 of transactions that would otherwise be prohibited pursuant to this order.
                                                                                                    (c) The prohibitions in subsection (a) of this section apply except to
                                                                                                 the extent provided by statutes, or in regulations, orders, directives, or
                                                                                                 licenses that may be issued pursuant to this order, and notwithstanding
                                                                                                 any contract entered into or any license or permit granted prior to the
                                                                                                 effective date of this order.
                                                                                                 Sec. 2. Authorities. (a) The Secretary, in consultation with, or upon referral
                                                                                                 of a particular transaction from, the heads of other agencies as appropriate,
                                                                                                 is hereby authorized to take such actions, including directing the timing
                                                                                                 and manner of the cessation of transactions prohibited pursuant to section
                                                                                                 1 of this order, adopting appropriate rules and regulations, and employing
                                                                                                 all other powers granted to the President by IEEPA, as may be necessary
                                                                                                 to implement this order. All agencies of the United States Government
                                                                                                 are directed to take all appropriate measures within their authority to carry
                                                                                                 out the provisions of this order.
                                                                                                    (b) Rules and regulations issued pursuant to this order may, among other
                                                                                                 things, determine that particular countries or persons are foreign adversaries
                                                                                                 for the purposes of this order; identify persons owned by, controlled by,
                                                                                                 or subject to the jurisdiction or direction of foreign adversaries for the
                                                                                                 purposes of this order; identify particular technologies or countries with
                                                                                                 respect to which transactions involving information and communications
                                                                                                 technology or services warrant particular scrutiny under the provisions of
                                                                                                 this order; establish procedures to license transactions otherwise prohibited
                                                                                                 pursuant to this order; establish criteria, consistent with section 1 of this
                                                                                                 order, by which particular technologies or particular participants in the
                                                                                                 market for information and communications technology or services may
                                                                                                 be recognized as categorically included in or as categorically excluded from
                                                                                                 the prohibitions established by this order; and identify a mechanism and
                                                                                                 relevant factors for the negotiation of agreements to mitigate concerns raised
                                                                                                 in connection with subsection 1(a) of this order. Within 150 days of the
                                                                                                 date of this order, the Secretary, in consultation with the Secretary of the
                                                                                                 Treasury, Secretary of State, the Secretary of Defense, the Attorney General,
                                                                                                 the Secretary of Homeland Security, the United States Trade Representative,
                                                                                                 the Director of National Intelligence, the Administrator of General Services,
                                                                                                 the Chairman of the Federal Communications Commission and, as appro-
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                                                                                                 priate, the heads of other agencies, shall publish rules or regulations imple-
                                                                                                 menting the authorities delegated to the Secretary by this order.
                                                                                                   (c) The Secretary may, consistent with applicable law, redelegate any
                                                                                                 of the authorities conferred on the Secretary pursuant to this section within
                                                                                                 the Department of Commerce.
                                                                                                 Sec. 3. Definitions. For purposes of this order:


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                                                                                                   (a) the term ‘‘entity’’ means a partnership, association, trust, joint venture,
                                                                                                 corporation, group, subgroup, or other organization;
                                                                                                   (b) the term ‘‘foreign adversary’’ means any foreign government or foreign
                                                                                                 non-government person engaged in a long-term pattern or serious instances
                                                                                                 of conduct significantly adverse to the national security of the United States
                                                                                                 or security and safety of United States persons;
                                                                                                   (c) the term ‘‘information and communications technology or services’’
                                                                                                 means any hardware, software, or other product or service primarily intended
                                                                                                 to fulfill or enable the function of information or data processing, storage,
                                                                                                 retrieval, or communication by electronic means, including transmission,
                                                                                                 storage, and display;
                                                                                                    (d) the term ‘‘person’’ means an individual or entity; and
                                                                                                   (e) the term ‘‘United States person’’ means any United States citizen,
                                                                                                 permanent resident alien, entity organized under the laws of the United
                                                                                                 States or any jurisdiction within the United States (including foreign
                                                                                                 branches), or any person in the United States.
                                                                                                 Sec. 4. Recurring and Final Reports to the Congress. The Secretary, in
                                                                                                 consultation with the Secretary of State, is hereby authorized to submit
                                                                                                 recurring and final reports to the Congress on the national emergency de-
                                                                                                 clared in this order, consistent with section 401(c) of the NEA (50 U.S.C.
                                                                                                 1641(c)) and section 204(c) of IEEPA (50 U.S.C. 1703(c)).
                                                                                                 Sec. 5. Assessments and Reports. (a) The Director of National Intelligence
                                                                                                 shall continue to assess threats to the United States and its people from
                                                                                                 information and communications technology or services designed, developed,
                                                                                                 manufactured, or supplied by persons owned by, controlled by, or subject
                                                                                                 to the jurisdiction or direction of a foreign adversary. The Director of National
                                                                                                 Intelligence shall produce periodic written assessments of these threats in
                                                                                                 consultation with the heads of relevant agencies, and shall provide these
                                                                                                 assessments to the President, the Secretary for the Secretary’s use in connec-
                                                                                                 tion with his responsibilities pursuant to this order, and the heads of other
                                                                                                 agencies as appropriate. An initial assessment shall be completed within
                                                                                                 40 days of the date of this order, and further assessments shall be completed
                                                                                                 at least annually, and shall include analysis of:
                                                                                                    (i) threats enabled by information and communications technologies or
                                                                                                    services designed, developed, manufactured, or supplied by persons owned
                                                                                                    by, controlled by, or subject to the jurisdiction or direction of a foreign
                                                                                                    adversary; and
                                                                                                    (ii) threats to the United States Government, United States critical infra-
                                                                                                    structure, and United States entities from information and communications
                                                                                                    technologies or services designed, developed, manufactured, or supplied
                                                                                                    by persons owned by, controlled by, or subject to the influence of a
                                                                                                    foreign adversary.
                                                                                                    (b) The Secretary of Homeland Security shall continue to assess and
                                                                                                 identify entities, hardware, software, and services that present vulnerabilities
                                                                                                 in the United States and that pose the greatest potential consequences to
                                                                                                 the national security of the United States. The Secretary of Homeland Secu-
                                                                                                 rity, in coordination with sector-specific agencies and coordinating councils
                                                                                                 as appropriate, shall produce a written assessment within 80 days of the
                                                                                                 date of this order, and annually thereafter. This assessment shall include
                                                                                                 an evaluation of hardware, software, or services that are relied upon by
                                                                                                 multiple information and communications technology or service providers,
                                                                                                 including the communication services relied upon by critical infrastructure
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                                                                                                 entities identified pursuant to section 9 of Executive Order 13636 of February
                                                                                                 12, 2013 (Improving Critical Infrastructure Cybersecurity).
                                                                                                   (c) Within 1 year of the date of this order, and annually thereafter, the
                                                                                                 Secretary, in consultation as appropriate with the Secretary of the Treasury,
                                                                                                 the Secretary of Homeland Security, Secretary of State, the Secretary of
                                                                                                 Defense, the Attorney General, the United States Trade Representative, the


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                                                                                                 Director of National Intelligence, and the Chairman of the Federal Commu-
                                                                                                 nications Commission, shall assess and report to the President whether
                                                                                                 the actions taken by the Secretary pursuant to this order are sufficient
                                                                                                 and continue to be necessary to mitigate the risks identified in, and pursuant
                                                                                                 to, this order.
                                                                                                 Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                                                                                                 to impair or otherwise affect:
                                                                                                   (i) the authority granted by law to an executive department or agency,
                                                                                                   or the head thereof; or
                                                                                                   (ii) the functions of the Director of the Office of Management and Budget
                                                                                                   relating to budgetary, administrative, or legislative proposals.
                                                                                                   (b) This order shall be implemented consistent with applicable law and
                                                                                                 subject to the availability of appropriations.
                                                                                                   (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                 substantive or procedural, enforceable at law or in equity by any party
                                                                                                 against the United States, its departments, agencies, or entities, its officers,
                                                                                                 employees, or agents, or any other person.




                                                                                                 THE WHITE HOUSE,
                                                                                                 May 15, 2019.


                                              [FR Doc. 2019–10538
                                              Filed 5–16–19; 11:15 am]
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